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                        EXHIBIT G
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From : R. Chris Heck [mailto:rcheck@kirkland.com]
Sent: Monday, April 04, 2011 12:22 PM
To: Hedgpeth, Tiffany
Cc: 'alangan@kirkland.com'; 'dbeffa@kirkland.com'; Hertz, Diane C.; Dragna, Jim; Kirby, Ky E.;
'mboles@kirkland.com'; 'tduffy@kirkland.com'; 'vanessa.vanauken@kirkland.com'
Subject: Re: Request for Meet and Confer

Tiffany:

Thanks for your response, but BP does not agree with your position. Even if the discovery served by
Anadarko and MOEX were to "protect themselves," that is not relevant under the Federal Arbitration Act
("FAA") and implementing case law. Operating Agreement article 22.9 requires that "[a]ny claim,
controversy, or dispute arising out of, relating to, or in connection with this Agreement or an activity or
operation conducted under the Agreement shall be resolved under the Dispute Resolution Procedure in
Exhibit'H' to this Agreement." This broad arbitration clause, especially when combined with the FAA's
presumption in favor of arbitration, easily encompasses the various disputes between BP on the one hand
and Anadarko and MOEX on the other. Now that the BP has delivered a Notice of Dispute under the
Dispute Resolution Procedure, the parties must follow that Procedure and all discovery in court between
the parties pertaining to arbitrable disputes must stop, which includes the discovery served by Anadarko
and MOEX.

Moreover, the discovery's purpose does not appear to be for Anadarko and MOEX to "protect
themselves," but instead to prosecute your clients' claims against BP--all in an effort to relieve themselves
of their express obligations under the Operating Agreement and federal law. Such claims are arbitrable
under the JOA's broad Dispute Resolution Procedure. Moreover, the Operating Agreement has an
express provision in which your clients covenanted that they would not "resort to court remedies," which
includes engaging in discovery against BP in court. By pursuing that discovery in the MDL, Anadarko and
MOEX are in breach of their contract obligations and promises to BP.

We can discuss this further during our meet-and-confer tomorrow.

Thanks,
R. Chris Heck
Kirkland & Ellis LLP
300 N. LaSalle
Chicago, IL 60654
Tel: (312) 862-3030
Fax: (312) 862-2200
r.chris.heck@kirkland.com

"Hedgpeth , Tiffany"
<tiffany. hedgpeth @bingham.com>                To rcheck@kirkland.com<rcheck@kirkland.com>
                                                cc alangan@kirkland.com<alangan@kirkland.com>,
                                                    mboles@kirkland.com<mboles@kirkland.com>,
04/0312011 12:19 PM




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                                                                             6 2 of 5


                                                                  tduffy@kirkland.com<tduffy@kirkland.com>, "'dbeffa@kirkland.com
                                                                 <dbeffa@kirkland . com>, "'vanessa .vanauken @ kirkland.com"'
                                                                 <vanessa .vanauken@ kirkland . com>, "Hertz , Diane C."
                                                                 <diane.hertz@bingham.com>, "Dragna, Jim"
                                                                 <jim.dragna@bingham. com>, "Kirby, Ky E." <Ky.Kirby@ bingham. com>
                                                         Subject Re: Request for Meet and Confer




Hi Chris. Thanks for the e-mail. As defendants in the MDL, Anadarko and MOEX must continue to take all
necessary actions to protect themselves, which includes pursuing discovery against other parties, including BP.
Therefore, we plan to proceed with the meet and confer that is scheduled for Tuesday, and expect BP to do the
same.

We will address the notice of dispute in separate correspondence.

Thanks and enjoy the rest of your weekend,


From : R. Chris Heck <rcheck@kirkland.com>
To: Hedgpeth, Tiffany; Hertz, Diane C.
Cc: Andrew Langan <alangan@kirkland.com>; Martin Boles <mboles@kirkland.com>; Tim Duffy
<tduffy@kirkland.com>; Darin Beffa <dbeffa@kirkland.com>; Vanessa Van Auken
<vanessa.vanauken@kirkland.com>
Sent: Fri Apr 01 15:38:44 2011
Subject : Re: Request for Meet and Confer

Counsel -- today BP delivered to Anadarko and MOEX a "Notice of Dispute" under the dispute resolution and
arbitration procedures of the parties' Macondo Operating Agreement. The discovery served by Anadarko and
MOEX relates to disputes subject to this arbitration process. Please let us know if you plan to withdraw or stay
your discovery in light of the Notice of Dispute.


Thanks,
R. Chris Heck
Kirkland & Ellis LLP
300 N. LaSalle
Chicago, IL 60654
Tel:.(312) 862-3030
Fax: (312) 862-2200
r.chris.heck@kirkland.com

----- Forwarded by Martin Boles/Los Angeles/Kirkland-Ellis on 03/3112011 04:20 PM -----
Tim
Duffy/Chicago/Kirkland-
                                To "Hedgpeth , Tiffany" <tiffany.hedgpeth@bingham.com>
Ellis
                                 cc Andrew Langan/Chicago/Kirkiand-Ellis@K&E, Martin Boles/Los Angeles/Kirkiand-Ellis@K&E, Darin Beffa/Los
                                    Angeles/Kirkiand-Ellis@K&E, Vanessa Van Auken/Chicago/Kirkiand-Ellis@K&E, "Hertz, Diane C."
03/25/2011 03:01 PM
                                    <diane.hertz@bingham.com>
                           Subject Re: Request for Meet and ConferLink




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Let's plan to speak at lpm central on April 5 if that works for you. We can use this dial-in:

1-866-331-1856
Code 81349910#

Thanks,

Tim



Timothy A. Duffy, P.C.
Kirkland & Ellis LLP
300 North LaSalle
Chicago, IL 60654
Office 312-862-2445
Cell 847-530-4920
tim. duffy@kirkland. com




 From : "Hedgpeth, Tiffany" [tiffany.hedgpeth@bingham.com]
Sent : 03/25/2011 02:34 PM MST
To: Tim Duffy
Cc: Andrew Langan; Martin Boles; Darin Beffa; Vanessa Van Auken; "Hertz, Diane C." <diane.hertz@bingham.com>
Subject : RE: Request for Meet and Confer



Tim, thanks for your response. Please let me know of your availability on April 5.

Thanks


From : Tim Duffy [mailto:tduffyC&kirkland.com]
Sent: Thursday, March 24, 2011 11:51 AM
Cc: Andrew Langan; Martin Boles; Darin Beffa; Vanessa Van Auken
Subject : Request for Meet and Confer

Dear Ms. Hedgpeth,

We have received your letters dated March 18, 2010 on behalf of Anadarko and MOEX raising issues with respect
to BP's written discovery responses and seeking a meet-and-confer re same. Your letters raise a number of
complex issues, and, as I am sure you appreciate, that require input from a number of people already very busy
with ongoing discovery in MDL 2179. We ask that any meet-and-confer be scheduled no earlier than the week of
April 4th, which will hopefully allow for a more productive discussion of the issues raised by your letters. Please
let us know what times would work for you.

Thank you.

Tim


Timothy A. Duffy, P.C.
Kirkland & Ellis LLP
300 North LaSalle
Chicago , IL 60654



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office 312-862-2445
cell 847-5304920
tim.duffy@kirkland.com



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